         Case 1:16-cv-00259-BAH Document 51 Filed 09/07/18 Page 1 of 5



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 CITIZENS FOR RESPONSIBILITY AND
 ETHICS IN WASHINGTON, et al.,

             Plaintiffs,
        v.

 FEDERAL ELECTION COMMISSION,                       Civil Action No. 1:16-cv-00259-BAH

             Defendant,

 CROSSROADS GRASSROOTS POLICY
 STRATEGIES,

             Intervenor-Defendant.


                 CROSSROADS GRASSROOTS POLICY STRATEGIES’
                       BRIEF ON JURISDICTIONAL ISSUES
                REGARDING ITS MOTION TO STAY PENDING APPEAL

       Crossroads Grassroots Policy Strategies (“Crossroads GPS”) respectfully submits this

brief in response to the Court’s August 28 minute order requesting additional briefing on the

Court’s jurisdiction to (1) stay, pending appeal, its remand of the administrative enforcement

complaint to the Federal Election Commission (“FEC”), and (2) extend through appeal the

Court’s original 45-day stay of the judgment declaring invalid and vacating the regulation at

issue, 11 C.F.R. § 109.10(e)(1)(vi).

       The first issue has been overtaken by events. The FEC has already dismissed the

administrative enforcement complaint, apparently on grounds not depending on the validity of

the regulation. See Dkt. No. 50 (response of the FEC to Crossroads GPS’s motion for a stay).

Although future events could revive the dismissal issue, for the moment, as the FEC itself

explained, “the portion of the pending motion by Crossroads GPS that seeks a stay pending

appeal of the Court’s order regarding the underlying administrative complaint in this matter is

                                                1
                   Case 1:16-cv-00259-BAH Document 51 Filed 09/07/18 Page 2 of 5



moot.” Id. Because mootness itself is a jurisdictional bar, Crossroads GPS turns to point 2.

              Importantly, point 2 concerns this Court’s continuing authority to stay its own judgment

and to extend its own stay. Although the dismissal issue may have been remanded to the FEC,

there was no such remand of the judgment of invalidity or of the 45-day initial stay.1 The

Court’s stated reason for the 45-day stay was to allow the FEC to adopt an interim rule if it so

chose, but the FEC was not ordered to do so. Nor was the FEC given any authority to extend the

45-day stay if it required more time to complete that task.

              Rule 60, Fed. R. Civ. P., and Rule 8, Fed. R. App. P., presuppose that this Court has

continuing authority with respect to its own judgment. And this must be so. Suppose (contrary

to fact) that CREW had some compelling reason the original 45-day stay should be shortened.

Could it have sought such relief from the FEC? Obviously not. Agencies cannot set aside such

judicial action. But an interim measure such as a stay cannot be an immovable object.

              Doubtless that is why CREW’s initial filing did not even assert a jurisdictional problem

                                                            
1
     This Court’s August 3 order (Dkt. No.42) reads in relevant part:

                 ORDERED that the defendant Federal Election Commission’s dismissal of the
                 plaintiffs’ amended administrative complaint, dated April 24, 2013, is declared
                 contrary to law and is hereby VACATED; and it is further

                 ORDERED that the Federal Election Commission is directed to reconsider the
                 plaintiffs’ amended administrative complaint, dated April 24, 2013, in
                 conformity with this Memorandum Opinion, within 30 days, pursuant to 52
                 U.S.C. § 30109(a)(8)(C); and it is further

                 ORDERED that 11 C.F.R. § 109.10(e)(1)(vi), promulgated by the Federal
                 Election Commission, is declared to be invalid and otherwise not in
                 accordance with law, and is VACATED, which vacatur is STAYED for 45
                 days from the date of this ORDER[.]

Order at 2 (emphasis added). As can be seen, the second ordering paragraph directs further
action by the FEC, but the third paragraph (relevant here) operates directly on the Court’s own
order of vacatur.  

                                                               2
          Case 1:16-cv-00259-BAH Document 51 Filed 09/07/18 Page 3 of 5



with this Court’s authority to extend the existing stay as to the regulation. Instead, CREW’s Stay

Opposition (Dkt. No. 47) focused on whether this Court could alter the timing of the FEC’s

handling of the administrative enforcement complaint. See id. 47 at 3-4 (citing 52 U.S.C.

§ 30109(a)(8)(C)). For the present, that issue is moot.

       As CREW doubtless recognized, stays following a regulation’s vacatur are commonplace

since the “district court retains some remedial discretion [over the case] . . . and the parties may

move to stay the district court’s [vacatur] order.” Friends of Earth, Inc. v. E.P.A., 446 F.3d 140,

148 (D.C. Cir. 2006). See, e.g., Washington All. of Tech. Workers v. United States Dep’t of

Homeland Sec., 857 F.3d 907, 910 (D.C. Cir. 2017), cert. denied, 138 S. Ct. 1276 (2018) (noting

district court’s three-month extension of its original decision to stay vacatur of invalid rule);

AARP v. United States Equal Emp’t Opportunity Comm’n, 292 F. Supp. 3d 238, 245 (D.D.C.

2017) (exercising “discretion to stay the effective date of [the court’s] vacatur order until January

1, 2019” because “‘[t]he district court retains some remedial discretion’ to stay an order of

vacatur”); Nat’l Venture Capital Ass’n v. Duke, 291 F. Supp. 3d 5, 21 (D.D.C. 2017) (noting that

party can move for stay pending appeal of vacatur remedy); NACS v. Bd. of Governors of Fed.

Reserve Sys., 746 F.3d 474, 482 (D.C. Cir. 2014) (noting that district court granted stay pending

appeal given that “regulated parties had already ‘made extensive commitments’ in reliance on

the Board’s rules”); Sierra Club v. Pruitt, 293 F. Supp. 3d 1050, 1061 (N.D. Cal. 2018) (staying

order vacating rule until future date following further briefing).

       Indeed, even where courts “have vacated rules or orders and remanded to the agency” –

an additional step that the Court did not undertake here – courts still “have indicated that [they]

would entertain a motion for a stay of the mandate while the agency took corrective action.”

Nat. Res. Def. Council v. E.P.A., 489 F.3d 1250, 1262–63 (D.C. Cir. 2007) (emphasis added).



                                                  3
           Case 1:16-cv-00259-BAH Document 51 Filed 09/07/18 Page 4 of 5



See also Cement Kiln Recycling Coal. v. E.P.A., 255 F.3d 855, 872 (D.C. Cir. 2001) (parties to

proceeding may file a motion to delay the effectiveness of vacatur); U.S. Tel. Ass’n v. F.C.C.,

188 F.3d 521, 531 (D.C. Cir. 1999) (explaining that “of course” the government may “request a

stay of this order pending its reconsideration”). This is because the opportunity to seek a stay is

an important “safety valve” that provides the “agency, and any intervenors on its side, [with an]

opportunity to file post-decision motions demonstrating why an unlawful order or rule should

remain in place during proceedings on remand.” In re Core Commc’ns, Inc., 531 F.3d 849, 863

(D.C. Cir. 2008) (Griffith, J. concurring). See also Comcast Corp. v. F.C.C., 579 F.3d 1, 11–12

(D.C. Cir. 2009) (Randolph, J., concurring) (“the losing agency may always file a post-decision

motion for a stay of the mandate showing why its unlawful rule or order should continue to

govern until proceedings on remand are completed”). And such a stay operates directly on the

Court’s own judgment, rather than usurping agency discretion.

         Even beyond these specific authorities, this Court also has broad “equitable powers to

stay the mandate of its prior [vacatur] decision.” Haw. Longline Ass’n v. Nat'l Marine Fisheries

Serv., 288 F. Supp. 2d 7, 12 (D.D.C. 2003); see generally Fed. R. Civ. P. 54, 59, and 60. To

conclude otherwise would be to render the Court’s current stay effectively immutable short of

appellate review, as the FEC has no authority to curtail or extend the stay on its own. This type

of “peculiar result . . . should counsel against” the Court reaching that conclusion here. Doe v.

Bin Laden, 580 F. Supp. 2d 93, 97 (D.D.C. 2008), aff’d and remanded, 663 F.3d 64 (2d Cir.

2011).

         In short, abundant precedent and the Rules confirm that this Court has continued

authority over its judgment and, in particular, has authority to grant a stay pending final

resolution of the appeal.



                                                 4
        Case 1:16-cv-00259-BAH Document 51 Filed 09/07/18 Page 5 of 5



                                          Respectfully submitted,
                                          /s/ Thomas W. Kirby
Thomas J. Josefiak                        Michael E. Toner (D.C. Bar No. 439707)
J. Michael Bayes (D.C. Bar No. 501845)    Thomas W. Kirby (D.C. Bar No. 915231)
HOLTZMAN VOGEL JOSEFIAK TORCHINSKY PLLC   Andrew G. Woodson (D.C. Bar No. 494062)
45 North Hill Drive, Suite 100            Eric Wang (D.C. Bar No. 974038)
Warrenton, VA 20186                       WILEY REIN LLP
Tel.: 540.341.8808                        1776 K Street, NW
Fax: 540.341.8809                         Washington, DC 20006
                                          Tel.: 202.719.7000
                                          Fax: 202.719.7049

                                          Counsel for Crossroads Grassroots Policy
September 7, 2018                         Strategies




                                      5
